 

Case 8:13-cV-OO460-.]LS-.]PR Document 1 Filed 03/20/13 Page 1 of 16 Page |D #:9
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Michael W. Co!lins, State Bar# 197829 ,,
1 Law O£fices of Collins & Lamore l"<
Attorneys at an

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' (949) 581-9300; FAX# (430) 287-8507 § F*~
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Attorney for Plamtiff :>: 53
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IN THE UNITED sTATES DLSTRICT COURT on
6 _FOR THE CENTRAL mmch oF cALIFoRN:A §
v SOUTHERN DIVESION
8 )
9 Christopher Cobos, ) Case No
§ sAcv 13 _ 00460 AN
o Pl ' tim .
l am ) COMPLAINT
1 1 vs_ §
12 D. sco"rr cARRuTHERs, AN ;DEMAND FOR JURY TRIAL
13 rNDlleUAL; and Doos 1 - 10, ) . '
) 15 Uoiiod stores code § 1692 ot soo
14 Defendnnts )
)
1 5 Ploioom, chsTOPHER conos, based oo information ood honor ooo iovostigoooo of

1 6 counsel, except for those allegations which pertain to the named Plaintiff (which are alleged on

11 personal knowledge), hereby makes the following allegations:

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19 1. llNTRODuC'rloN
20 l. 'I'his action for statutory damages, anomey fees and costs is brought by an

21 individual consumer for Defendant’s violations of the Fair Debt Collection Practices Act, 15
22 U.S.C.§ 1692, e! seq. (hereinal’¢er “FDCPA“) which prohibits debt collectors from engaging in
23 abusive, deceptive and unfair practices.

2" 2. Aooordiog to 15 u.s.c.§ 1692:

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COMPLAINT - 1

 

 

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a. There is abundant evidence of the use of Abusive, deceptive, and unfair
debt collection practices by many debt collectors. Abusive debt collection practices contribute to
the number of personal bankruptcies, to Marital instability, to the loss of jobs, and to invasions of
individual privacy.

b . Existing laws and procedures for redressing these lnjuries are inadequate
to protect consumers

c. Means other than misrepresentation or other abusive debt collection
practices are available for the effective collection of debts.

d. Abusive debt collection practices are carried on to a substantial extent in
interstate commerce and through means and instrumentalities of such commerce. Even where
abusive debt collection practices are purely intrastate in character, they nevertheless directly

affect interstate commerce.
e. lt is the purpose of this title to eliminate abusive debt collection practices

by debt collectors, to insure that those debt collectors who refrain from using abusive debt
collection practices are not competitiver disadvantaged, and to promote consistent State action

to protect consumers against debt collection abuses.
II. JURISDICTION

3. Jurisdiction ofthis Court arises under 15 U.S.C. § 1692K(d) and 28 U.S.C. §§
2201 AND 2202.

4. This action arises out of Defendant’s violations of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

ul._\/_M
5. Venue in this judicial district is proper pursuant to 28 U.S.C. § 1391(b), in
that a substantial part of the events or omissions giving rise to the claim occurred in this judicial

district Venue is also proper in this judicial district pursuant to 15 U.SC. § 1692k(d), in that

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Defendant transacts business in this judicial district and some of the facts related to the violations

of the FDCPA complained of occurred in this judicial district.

IV. INTRADISTRICT ASS!GNMENT
6. This lawsuit should be assigned to the Southem Division of this
Court because a substantial part of the events or omissions which gave rise to this lawsuit

occurred in Orange County.

V. PARTIES

7. Plaintiff, CHRISTOPHER COBOS (hereinafter “Plaintiff"), is a natural person
residing in Costa Mesa, CA. Plaintiff is a “consumer” within the meaning of 15 U.S.C. §
1692a(3).

8. Plaintiff is informed and believes, and thereon alleges that Defendant, D. SCOTT
CARRUTHERS, AN [NDIVIDUAL (hereinafter “CARRUTHERS”), is or was at all relevant
times, an individual sole practitioner engaged in the business of collecting debts in this state with
its principal place of business appearing to be located in Orange County, CA at: 8448 Katella
Ave., Stanton, CA 90680.

9. The principal business of CARRUTHERS is the collection of debts using the
mails and telephone, and CARRUTHERS regularly attempts to collect debts alleged to be due
another. CARRUTHERS is a “debt collector” within the meaning of 15 U.S.C. § 1692A(6).

10. Does l - 10 are additional persons or entities responsible in some way for the
harms suffered by Plaintiffs as alleged herein, and will be named by their true names upon
discovery thereof
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COMPLAINT - 3

 

 

 

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VI. FACTUAL ALLEGATIONS

ll. On 10/04/2012, Defendant sent a demand letter to Plaintiff requesting payment of
an alleged debt owed to Mountain Lion Acquisitions (hereafter referred to as “MOUNTAIN”)
and providing Plaintiff With 30 days to provide written notice of any dispute. A true and accurate
copy of the letter sent 10f04/2012, referenced above, is attached hereto, marked Exhibit”l” and
by this reference is incorporated herein. In response to Defendant’s letter and within 30 days of
receipt thereof, Plaintiff disputed the debt in writing on 10/26/2012. A true and accurate copy of
the letter sent 10/26/2012, referenced above, is attached hereto, marked Exhibit”Z” and by this
reference is incorporated herein. Said letter was sent by certified mail return receipt requested
and was received by Defendant on or about 11/02/2012. A true and accurate copy of the proof of
delivery, referenced above, is attached hereto, marked Exhibit”?)” and by this reference is
incorporated herein,

12. On 12/04f2012, CARRUTHERS filed suit on behalf of “MOUNTAIN” and against
Plaintiff in the Orange County Superior Court, case# 30-2012-00615601. Prior to and up to the
date of filing the lawsuit referenced above, Defendant failed to validate the debt as required
pursuant to the FDCPA.

13. On or about 12/10/2012, Plaintiff was served With the Summons and Complaint
issued by Orange County Superior Court, case# 30-2012-00615601 and was later sent a further
demand letter on 12/13f2012. A true and accurate copy of the demand letter sent by Defendant to
Plaintiff on 12/13/2012, is attached hereto, marked Exhibit”4” and by this reference is
incorporated herein. Prior to and up to the date of service of process and further demand letter
sent, Defendant failed to validate the debt as required pursuant to the FDCPA.

14. Plaintiff is informed and believes, and thereon alleges, that the conduct by

CAR_RUTHERS is in violation of the Fair Debt Collection Practices Act by continuing to collect

COMPLAINT - 4

 

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on a disputed debt without first providing validation of debt and by such other acts and omissions

in violation of the FDCPA as may be proven at trial.

VII. CLAIMS
FAIR DEBT COLLECTION PRACTICES ACT

15. Plaintiff brings a claim for relief against Defendant under the Fair Debt Collection
Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

16. Plaint. incorporates all paragraphs of Complaint as though fully set forth herein.

17. Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

18. Defendant, CARRUTHERS, is a “debt collector” as that term is defined by the
FDCPA, 15 U.S.C. § 1692a(6).

19. The financial obligation alleged to be owed by Plaintiff is a “debt” as that term is
defined by the FDCPA, 15 U.S.C. § 1692a(5).

20. CARRUTHERS has violated the FDCPA. 'l`he violations include, but are not

limited to, the following
a. CARRUTHERS failed to cease collection of the alleged debt after being

notified in writing that said debt was disputed in violation of 15 U.S.C. §§ 1692g(b).
21. Defendant’s acts as described above were done intentionally with the purpose of
coercing Plaintiff to pay the alleged debt.

22. As a result of Defendant’s FDCPA violations, Plaintiff is entitled to an award of

statutory darnages, costs and reasonable attorneys fees, pursuant to lSU.S.C. § 1692k.

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COMPLAINT - 5

 

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VIII. REQUEST FOR RELIEF

Plaintiff requests that this Court:

a) Assume .Iurisdiction in this proceeding;

b) Declare that Defendant violated the Fair Debt Collection Practices Act, 15
U.S.C. §§ 1692g(b) and such other violations as may be proven at tria];

c) Award actual damages of amounts paid to CARRUTHERS in excess of
amounts lawfully due and any other actual damages as may be determined at
trial;

d) Award Plaintiff statutory damages in an amount not exceeding $1,000 for
each Plaintiff and for each occurrence, pursuant to 15 U.S.C. §
l692k(a)(2)(A);

e) Award Plaintiff the costs of this action and reasonable attorneys fees
pursuant to l$U.S.C. § l692k(a)(3);

f) Award Plaintiff such other and further relief as may bejust and proper.

Law Offices f Collins & Lamore

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Micha=e)%d. Collins, Esq.
Attqiney for Plaintiff

DEMAND FOR JURY TRIAL

PLEASE TAKE NOTlCE that Plaintiff, Christopher Cobos, hereb demands a trial by jury of all
triable issues of fact in the above-captioned case.

 

Michael Wfo'llins, Esq.

COMPLAINT - 6

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Exhibit "1"

 

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'---» LAW OFFICE OF ""'
D. SCO'I`T CARRUTHERS
8448 KATELLA AVE, BOX 228
STANTON, CA 90680
PH. 714.761.3976 FX: 714.761.1754

 

October 4, 2012
CHRISTOPHER E COBOS
2775 MESA VERDE DR
M116

COSTA MESA, CA 92626

NOTICE OF DEBT
lf;i_l:_lcipal:$_ 2_§90.7,3, __ _ _____ _f Y_ __________ ____
Interest :S 3,678.51
Total :S 6,269.24
CREDITOR: CASHCALL INC - ACCT#:..Z99

DEAR CHRISTOPHER E COBOS. 7

l have been retained by MOUNTAIN LION ACQUISITIONS, INC. to file a lawsuit against you on
their behalf, as a final means to collect your delinquent account Since they have¢approved legal action to
be taken, and in compliance with 1033(b)(2) of the California State Code of Civil.Procedure, you are
hereby_f_`ormally notified of such possible legal action. If this suit is filed and results in ajudgment`, the
balance may increasel as you may be liable for the actual costs of filing fees, reasonable attorney fees as
determined by the court, back interest, and the actual costs of the process server who serves the Summons
and Complaint. When, and if, thejudgment is obtained it will legally give me the right to seek and attach
any non-exempt real or personal assets .If you dispute any portion of this debt, please provide within 30
days of receipt of this letter, a notice of your dispute Upon your written request within this thirty (30)
days, we will provide you with the name and address of the original creditor.

“'I`he state Rosenthal F air Debt Collection Practices Act and the federal Fair Debt Colfection
Practices Act require that, except under unusual circumstances, collectors may not contact you
before 8 a.m. or after 9 p.m. They may not harass you by using threats of violence or arrest or
using obscene language Collectors may not use false or misleading statements or call you at
work if they know or have reason to know that you may not receive personal calls at work, For
the most part, collectors may not tell another person, other than your attorney or spouse, about
your debt. Collectors may contact another person to confirm your location or enforce ajudgment.
F or more information about debt collection activities, you may contact the Federal Trade

Commission at l-87'7-FTC-I-IELP or www.frc.gov.

 

This is an attempt to collect a debt, any information obtained will be used for that purpose This
communication is from a debt collector.

 

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Exhibit "2"

 

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October 26, 2012

Law Office of D. Scott Carruthers

8448 |<atella Ave, Box 228

Stanton, CA 90680

Re: Notice of Debt - Cashca|| inc., Acct #UBQ

Th|s letter is to inform you that i officially dispute this notice of debt. P|ease provide any and all

documentation to support the validity of this claim.

Rega rds,

Christopher Co bos

2775 Mesa Verde Drive East, M116
Costa Mesa, CA 92626

(949”
chrisw

 

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Exhibit "3"

 

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LAW OFFICE OF fx if
D. SCOTT CARRUTHERS
8448 KATELLA AVE, BOX 228
STANTON, CA 90680
PH. 714.761.3976 FX: 714.761.1754
12/13/2012
CHRISTOPHER E COBOS
2775 MESA VERDE DR
Ml 16

COSTA MESA, CA 92626

sETTLEMiihT'oFFER - CAsE N0=30-2012 00615601

Plaintiff: MOUNTAIN LION ACQUISITIONS, INC. - Original Creditor: CASHCALL INC

Dear CHRISTOPHER E COBOS

I have received notice that you have been Served with the summons and complaint on the above-
referenced'matter. In regards to this matter l would like to extend to you an opportunity to make
a settlement agreement or payment arrangement on this account. If you owe the money that we
are seeking, then please call me. If you do not owe the money, then contact a lawyer. The
acceptance of an agreement With us Will stop the court proceedings andl allow you to dispose of
this debt'in a manner which is agreeable, both to you and to my client, MOUNTAIN LION

AcQUIsrnoNs, INC..

l will wo_rk_ with you i_n accordance to the guidelines of the California Court System, having you
sign a Stipulated Judgment and then accepting whatever payment arrangement we have set up.
As long as you keep this agreement, you will not be required to appear at any court hearings or
face any other collection efforts.

If you are willing to call me to resolve this account, please feel free to call me personally and I
will work with you and set you up with mutually acceptable arrangement Please call 714- 761-
'3976 and speak directly to me. n ~

“The state Rosent.hal Fair Debt Collection Practices Act and the federal Fair Debt Collection_
Practices Act require that, except under unusual circumstances, collectors may not contact you
before 8 a.m. or after 9 p.m. They may not harass you by using threats of violence or arrest or
using obscene language Collectors may not use false or misleading statements or call you at
work if they know or have reason to know that you may not receive personal calls at work, For
the most palt, collectors may not tell another person, other than your attorney or spouse, about
your debt Collectors may contact another person to confirm your location or enforce a judgment
For more information about debt collection activities, you may contact the F ederal Trade

ion at l- 877 F'I7`7{77fC777| LP or www. rtc. gov.

       

D. Scott Carru ers

This is an attempt to collect a debt, any information obtained will be used for that purpose This
communication is from a debt collector.

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UNITED STATs../DISTRICT COURT, CENTRAL DISTRIC'I\A` CALIFORNIA
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Vl!l(a). lDENTlCAL CASES: Has this action been previously fich in this court and dismisscd, remanded or elosod? dNo El ch
lfyes. list case number(s):

 

Vlll(b). RELATED CASES: Have any cases been previously filed in this court that arc related to the present case? BlNo El ch
ifycs, list case number(s):

 

Civil cases are deemed related it a previously filed case and the present case:
(Clleck all boxes that apply) El A. Arisc from the same or closely related uansactioiis. happenings or cvcrlts; or
C| B. Call for determination of the same or substantially related or similar questions of law and face or
El C. For other reasons would entail substantial duplication of labor if heard by different judgcs; or
ij D. lnvolvc the same pittan trademark or copyrights g one of thc factors identified above in a. b or c also is present

 

IX. VENUE: (thn completing tile following information1 usc an additional sheet il`ncccssary.)

lai List the County in this Distn'cl; Califomia County outside of this District; State if other than Califomia; or Forcign Countxy. in which EACH named plaintiff resides
Ei Checit here if the government its agencies or employees is a named plaintiff if this box is checkcd, go to item (b).

 

County in this Districl:’ Calif`ornia County outside of this Disu'icl; Statc. if other than Califomia; or Foreign Counu'y

 

Orange County

 

(b} List the County in this Disb'ict; Califomia County outside of this District; State if other than California; or Forcign Country, in which EACl-l named defendant resides.
Zl Cllcck here if the government its gEcncies or employees is a named defendant If` this box is chccked, go to item (c).

 

County in this Dl'strict:' Califomia County outside of this District; State, if other than Califomill; or Forclgn Counlry

 

Orange County

 

 

 

 

(c) List the County in this District; Califomla County outside of` this District; Statc ifother than Ca|ifomia; or Foreign Country. in which EACH claim arose.
Note: ln land condemnation cases, usc tiltl location of the tract lifland lnvolved.

 

County irl this Dislrict:’ Califomia County outside ofthis District; Statc, ifolher than Calit`ornia; or Foreigrl Country

 

Orarige County

 

 

 

 

' Los Aa¢elet. Ona¢e. San Bernardlno, R|vorslde Ventura. Santa Barbara. or San Lals Oblspo Countles
Note: in land oridemrlati n c use the location of the tl'act of land inverva t

x slGNATuRi-; or ArroitNEY(oR rko Pt~:R): /li bi vi €/ d/ L“/{MX- /// //)aie 03/20/2012

Notlce to Coun|el.fl‘art'ies: Thc CV- 71 (JS-44) Civil Cover Shcct and thc information il nod herein neither replace nor supplement the l'llingand service of pleadings
or other papers as required by |aw. This form, approved by the .ludicial Conference of the United Statcs iri September 1974, is required pursuant to Local Rule 3-l is riot filed
but is used by the Clcrlc of the Court for the purpose of statistics venue and initiating the civil docket shect. (For more detailed insu'uctions. see separate instructions shect)

 

 

Key to Stalistiea| codes relating to Socia| Security Cases'.

Natur¢ ol` Solt Code Abbrevlatlolt Suhstimti've Statemelt of Causc of Actlon

86| HIA All claims for health insurance benefits (Medieare) under Title 18, Part A, of the Socia] Socurit'y AeL as amended
Also. include claims by hospitals, skilled nursing facilities, etc., for cenilieation as providers of services under the
program (42 U.S.C. I935FF(b))

862 BL A|l claims for “Black Lung°‘ benctlts under Title 4. Parl B, ofthe Fodcral Coal Minc Hcaltb a.rid Safcty Act of t969.
(30 U.S.C. 923)

363 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 ofthe Sociai Sccurity Act. as
amendcd; plus all claims filed for chi|d‘s insurancc benefits based on disability (42 U.S.C. 405(3))

863 DIWW A|l claims Elod for widows or widowers insurance benefits based on disability under Title 2 ofthe Socia| Sccurity
Act. as amended (42 U.S.C. 405(g))

364 SSID Al] claims for supplemental security income payments based upon disability filed under Title 16 ofthe Social Secun'ty
Act. as amended

865 RS] All claims for retirement (o|d age) and survivors benefits under Title 2 of the Soeial Security Act, as amcnded. (42
u_s.C. lsi)

 

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